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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO


COMMUNITY OF HIPPOPOTAMUSES
LIVING IN THE MAGDALENA RIVER,


                      Applicant,
                                                         Civil Action No: 1:21-mc-23

To Issue Subpoenas For The Taking Of
Depositions Pursuant To 28 U.S.C. § 1782.




                                             ORDER
       Upon consideration of the Ex Parte Application of Community of Hippopotamuses

Living in the Magdalena River for an Order Pursuant to 28 U.S.C. § 1782 to Conduct Discovery

for Use in Foreign Proceedings, as well as the Declaration of Ariel Flint, the Declaration of Luis

Domingo Gómez Maldonado, and the Memorandum of Points and Authorities submitted in

support of the Application,

       IT IS HEREBY ORDERED that:

       1.      The Application is granted.

       2.      Counsel for Applicant is authorized to issue subpoenas in substantially similar

       form to those attached to the Declaration of Ariel Flint as Exhibits A and B.

       3.      This Court shall retain such jurisdiction as is necessary to effectuate the terms of

       such subpoenas.



          Cincinnati
Dated at ____________,            15th day of October 2021.
                       Ohio this ____

                                                      _______________________
                                                      United States Magistrate Judge
